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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 SECURITIES AND EXCHANGE COMMISSION,                         §
                                                             §
                              Plaintiff,                     §
                                                             §
 v.                                                          § Case No.: 4:15-cv-00338-ALM
                                                             §
 SETHI PETROLEUM, LLC and                                    §
 SAMEER P. SETHI,                                            §
                                                             §
                         Defendants.                         §
 ________________________________________________

        ORDER GRANTING PLAINTIFF’S EMERGENCY MOTION FOR SHOW
            CAUSE HEARING TO HOLD DEFENDANT IN CONTEMPT

        On this date, the Court considered Plaintiff Securities and Exchange Commission’s

 Emergency Motion for Show Cause Hearing to Hold Defendant in Contempt (“Motion” -

 Dkt. #138).

        Having considered the Motion and the evidence submitted in support,

        IT IS HEREBY ORDERED that Sameer P. Sethi, Praveen Sethi, and John Weber appear

 before the Court at 2:00 p.m. on August 1, 2016, in the courtroom of the Honorable Amos L.

 Mazzant, III, Paul Brown United States Courthouse, 101 East Pecan Street, Sherman, Texas

. 75090, and show just cause as to why they should not be held in civil contempt for
 violating the Court’s May 26, 2015 Agreed Preliminary Injunction.

        The Clerk is directed to mail this Order to John Weber via regular and certified mail.

        IT IS SO ORDERED.
         SIGNED this 11th day of July, 2016.




                                        ___________________________________
                                        AMOS L. MAZZANT
                                        UNITED STATES DISTRICT JUDGE
